Case 21-31954-hdh11 Doc 130 Filed 05/31/22                 Entered 05/31/22 16:08:52    Page 1 of 2



Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main Street, Suite 500
Dallas, TX 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
Attorneys for Debtor

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                                 §
                                                       §
2999TC ACQUISITIONS, LLC,                              §          CASE NO. 21-31954-hdh
                                                       §
        Debtor.                                        §          Chapter 11

                                MOTION FOR SETTING AND
                             REQUEST FOR EXPEDITED HEARING

       1.      2999TC Acquisitions, LLC (the “Debtor”) hereby requests that an expedited
hearing be set on 2999TC Acquisitions, LLC’s Emergency Motion to Extend Time and Motion to
Compel (the “Motions”) [Docket Nos. 128 and 129] at the Court’s earliest convenience.

       2.      An expedited hearing is necessary to extend the closing that is to occur on May 31,
2022, and to compel HNGH to deliver all documents required for the closing.

        3.      Notice of the expedited hearing will be provided to all parties receiving electronic
notice in this case via the Court's ECF system

        4.   A hearing was not requested earlier because the Debtor has been diligently working
on the documents needed to close and the Motions were just filed.

        Dated: May 31, 2022.

                                                           Respectfully submitted,

                                                           /s/ Joyce W. Lindauer
                                                           Joyce W. Lindauer
                                                           State Bar No. 21555700
                                                           Joyce W. Lindauer Attorney, PLLC
                                                           1412 Main Street, Suite 500
                                                           Dallas, Texas 75202
                                                           Telephone: 972-503-4033
                                                           Facsimile: 972-503-4034
                                                           Email: joyce@joycelindauer.com
                                                           Attorneys for the Debtor

Motion for Setting and Request for Expedited Hearing                                          Page 1
Case 21-31954-hdh11 Doc 130 Filed 05/31/22             Entered 05/31/22 16:08:52    Page 2 of 2




                                 CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that on May 31, 2022, I emailed and called Mr. John Kane
to confer regarding the relief requested herein. Mr. Kane has not yet responded to the expedited
hearing request.

                                                       /s/ Joyce W. Lindauer
                                                       Joyce W. Lindauer




                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 31, 2022, a true and correct copy of the
foregoing document was served via email via the Court’s ECF system upon the parties receiving
electronic notice in this case listed below.

Katherine T. Hopkins
katherine.thomas@kellyhart.com

John J. Kane
jkane@krcl.com, ecf@krcl.com;jkane@ecf.courtdrive.com

Sherrel K. Knighton
Sherrel.Knighton@lgbs.com, Dora.Casiano-
Perez@lgbs.com;Sean.French@lgbs.com;Dallas.Bankruptcy@lgbs.com

Joyce W. Lindauer
joyce@joycelindauer.com,
dian@joycelindauer.com;deann@joycelindauer.com;12113@notices.nextchapterbk.com

Steven C. Metzger
smetzger@pmklaw.com

Russell Hale Neilson
hneilson@parkinslee.com, hneilson@ecf.courtdrive.com

United States Trustee
ustpregion06.da.ecf@usdoj.gov

Kyle Woodard
kwoodard@krcl.com, KWoodard@ecf.courtdrive.com


                                                       /s/ Joyce W. Lindauer
                                                       Joyce W. Lindauer

Motion for Setting and Request for Expedited Hearing                                      Page 2
